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Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,                )   CR. NO. 17-00101 LEK
                                         )
          Plaintiff,                     )   UNITED STATES’S MOTION TO
                                         )   CONTINUE HEARING AND
    vs.                                  )   DEADLINE TO RESPOND TO
                                         )   DEFENDANT’S MOTION FOR
ANTHONY T. WILLIAMS,                     )   RETURN OF PROPERTY;
                                         )   CERTIFICATE OF SERVICE
          Defendant.                     )
                                         )

                UNITED STATES’S MOTION TO CONTINUE
               HEARING AND DEADLINE TO RESPOND TO
            DEFENDANT’S MOTION FOR RETURN OF PROPERTY

      Pursuant to Criminal Local Rule 12.2(d) of the Local Rules of Practice for

the District Court for the District of Hawaii, the government respectfully submits
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this motion to continue the hearing date for the defendant’s motion for return of

property. The defendant filed his motion on December 17, 2018. ECF No. 398.

The Court issued an Order setting the defendant’s motion for hearing on January

10, 2019. ECF No. 402. The Court’s Order did not set a deadline for the

government’s response to the motion; accordingly, pursuant to Criminal Local

Rule 12.2(d), the deadline for the government’s response to the motion was

December 27, 2018.

      The government requests a continuance of the hearing date of 21 days, to

and including January 31, 2019, and an extension of the deadline to respond to the

instant motion of 21 days, to January 17, 2019. This is the government’s first

request for an extension of this deadline. The defendant is representing himself

pro se; counsel for the government has not met-and-conferred with the defendant

regarding this request.

      As required by Local Rule 12.2(d), good cause supports this request. Both

counsel for the government were out of the office for the holidays for a substantial

period since the defendant filed his motion on December 17, 2018, and both

counsel were out of the office when the Court issued its Order on December 21,

2018, setting the hearing date for defendant’s motion. The undersigned counsel for

the Government, Assistant United States Attorney (AUSA) Gregg Yates was out of

the office from the day after the defendant filed his motion, on December 18, 2018,


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through January 1, 2019, and returned to the office on January 2, 2019. AUSA

Ronald Johnson was out of the office on December 19, 2018, and has been out of

the office from December 21, 2018 through January 4, 2019. In addition, AUSA

Johnson has assumed additional duties in connection with his role as Co-Chief of

the Violent Crime and Drug Section of the U.S. Attorney’s Office.

      The undersigned counsel has since returned to the office, but will require

additional time to investigate the defendant’s demand. The defendant’s motion

seeks the return of “iphones, scanners, printers, computers, laptops, music cd’s,

audio cd’s of religious lectures, dvd’s of religious lectures, file cabinets, client

files, personal files, business files, and a plethora of miscellaneous office

equipment, supplies and items.” However, to the extent that items were lawfully

seized pursuant to a valid warrant, the defendant is not entitled to their return

during the pendency of his criminal prosecution. See, e.g., Federal Rule of

Criminal Procedure 41(g) (permitting motion for return of property from a “person

aggrieved by an unlawful search and seizure of property . . .”). Additional time

will be required to review the warrants obtained as part of this investigation and to

identify the items seized pursuant to those warrants to determine whether they

were appropriately seized.




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      In light of the foregoing, the government seeks a continuance of the hearing

of 21 days, to and including January 31, 2019, and a similar extension of 21 days

of the deadline, to January 17, 2019, to respond to the defendant’s motion.

            DATED: January 3, 2019, at Honolulu, Hawaii.

                                              KENJI M. PRICE
                                              United States Attorney
                                              District of Hawaii


                                              By /s/ Gregg Paris Yates
                                                GREGG PARIS YATES
                                                Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

To be Served by First Class Mail on or by January 7, 2019

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: January 3, 2019, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
